           Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

TERESA ALEXANDER,                             CASE NO.

      Plaintiff,

v.

THOMAS UNIVERSITY, INC. and
HONEY LAKE CLINIC INC.

     Defendants.
________________________________/

                                   COMPLAINT

      Plaintiff, TERESA ALEXANDER, hereby sues Defendants, THOMAS

UNIVERSITY and HONEY LAKE MENTAL HEALTH CLINIC, and alleges:

                                  JURISDICTION

      1.      This is an action brought under the Americans with Disabilities Act

(ADA), codified at 42 U.S.C. § 12101, et seq. and the Rehabilitation Act codified at

29 U.S.C. §701 et seq.

      2.      This is an action involving claims which are, individually, in excess of

Seventy-Five Thousand Dollars.

                                  THE PARTIES

      3.      At all times pertinent hereto, Plaintiff, TERESA ALEXANDER, has

been a resident of the State of Florida and a student of and employed by Defendants.
           Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 2 of 12




Plaintiff is a member of a protected class by dint of having an actual or perceived

physical or mental disability and/or record of impairment which Defendant is aware

of. Further, Plaintiff reported Defendant’s unlawful employment practices and has

been consequentially retaliated against.

      4.      At all times pertinent hereto, Defendant, THOMAS UNIVERSITY, has

been organized and existing under the laws of the state of Georgia and was

conducting business within the geographical boundaries of this Court. At all times

pertinent to this action, Defendant has been an “educational institution” as that term

is used under the applicable laws identified above. Upon information and belief,

Thomas University receives federal funds to support the program that Plaintiff was

enrolled in and/or for Plaintiff’s attendance at Thomas University.

      5.      At all times pertinent hereto, Defendant, HONEY LAKE MENTAL

HEALTH CLINIC, has been organized and existing under the laws of the State of

Florida accepting students from Thomas University. At all times pertinent to this

action, Defendant has been associated with Thomas University, an “educational

institution.” Upon information and belief, Honey Lake receives federal funds to

support the program that Plaintiff was enrolled in and/or for Plaintiff’s attendance at

the practicum at Honey Lake.




                                           2
            Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 3 of 12




                            CONDITIONS PRECEDENT

       6.      Plaintiff has satisfied all conditions precedent to bringing this action, if

any.

                     STATEMENT OF THE ULTIMATE FACTS

       7.      Plaintiff began her education with Defendant Thomas University on or

about June 2019       and, at all times pertinent to this action, has worked as a

PRACTICUM STUDENT through Defendant THOMAS UNIVERSITY at

Defendant HONEY LAKE MENTAL HEALTH CLINIC in GREENVILLE,

FLORIDA.

       8.      Plaintiff has been and continues to be subjected to disparate treatment,

different terms and conditions of employment, and held to a different standard

because of actual or perceived physical or mental disability and/or record of

impairment and has been retaliated against after reporting this discrimination.

       9.      Plaintiff is a disabled student with an actual or perceived disability

and/or record of impairment. Plaintiff has a learning disability, she has been tested

for and diagnosed with dyslexia and/or dysgraphia. As part of her accommodations,

she had been entitled to extra time on exams and writing assignments in addition to

tutoring services.




                                             3
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 4 of 12




      10.   As part of Plaintiff’s education with Thomas University, she was

required to take a practicum course. Plaintiff elected to participate in Honey Lake

Mental Health Clinic to complete her Practicum.

      11.   Defendant Thomas University discriminated against Plaintiff by

disseminating the opinion that her ability to write was poor and denying her certain

reasonable accommodations.

      12.   For example, on or around March 6, 2019, Dr. Pauline Patrick e-mailed

Dr. Cristina Jones, the Program Director, and Donya Manning, the Academic

Advisor, all employees Defendants, stating that Plaintiff’s professional writing was

poor. After Defendant Honey Lake Mental Health Clinic sent the e-mail, Defendants

began to assess Plaintiff’s writing assignments with more scrutiny. Plaintiff

attempted to contact Dr. Jones regarding a failing grade she received. Dr. Jones

threatened Plaintiff with dismissal from the program for her behavior.

      13.   Plaintiff requested accommodations from the Disability Center for her

writing. Three professors, Dr. Steel, Dr. Jones, and Dr. Patrick complained about

Plaintiff’s request for accommodations.

      14.   Plaintiff requested audio books for her classes and Dr. Steel denied

Plaintiff’s request because Plaintiff is not blind. Defendant Thomas University

treated Plaintiff differently from students with physical disabilities who request

accommodations.
                                          4
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 5 of 12




       15.    Defendant Honey Lake Mental Health Clinic subjected Plaintiff to

different conditions in her role as Practicum Student by denying her access to the

KUPI system which would have assisted her in her writing as an accommodation for

her disability.

       16.    Defendant acted in a biased, discriminatory manner by relying on the

e-mails concerning Plaintiff’s writing ability to single out her notes without ever

reading them. Dr. Smith had not ever read her notes because Defendant denied

Plaintiff the ability to take notes in the KUPI system.

       17.    Defendant Honey Lake Mental Health Clinic did not make any effort

to accommodate Plaintiff’s learning disability when Defendant denied Plaintiff the

ability to input notes into the facility’s system.

       18.    In or around July 11, 2019, Defendant Honey Lake Mental Health

Clinic terminated Plaintiff from its Clinic. Defendant did not provide a reason for

termination and did not provide Plaintiff with a midterm evaluation. Defendant

Honey Lake merely sent Plaintiff an e-mail stating that all the therapists agreed that

Plaintiff should be terminated.

       19.    In or around July 18, 2019, Defendant Thomas University summoned

Plaintiff to a remediation session.        When she attended, Defendant Thomas

University denied Plaintiff an advocate from the Disability Center. Instead, Plaintiff

was forced to bring her brother, David Alexander, to serve as her disability advocate
                                         5
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 6 of 12




even though he has no training as a disability specialist. On information and belief,

the situation in which Defendant placed Plaintiff is in stark contrast to the treatment

afforded to other students.

      20.    In or around July 19, 2019, Plaintiff attempted to discover more

information regarding her unexplained termination and Defendant rebuffed her

attempts to contact it. Defendant labeled Plaintiff’s attempts to retrieve information

about the spontaneous termination of her career path as “unprofessional.”

      21.    Defendants both, in tandem, worked against Plaintiff and failed to

accommodate her by allowing her accommodations for her writing. Interestingly,

on or around July 29, 2019, Plaintiff received her midterm score of “A” on her

midterm grade for her practicum site. However, in or around July 31, 2019, Plaintiff

received an ending practicum grade of 89.7 and Defendant told her that her

practicum grade would be an “Unsatisfactory.” Defendant claimed that her

practicum score was the reason for Plaintiff’s remediation.

      22.    In or around August 1, 2019, Plaintiff reported to the President of

Thomas University, Dr. Sheppard, about the discrimination, denial of

accommodations for her disability and termination from her practicum site at Honey

Lake Mental Health Clinic.

      23.    Subsequently, and in retaliation for her reports of discrimination, in or

around August 16, 2019, Defendant Thomas University e-mailed Plaintiff an Action
                                      6
          Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 7 of 12




Plan. Defendant presented this Action Plan to Plaintiff as a condition precedent for

her return to Thomas University. In the Action Plan, Defendant required Plaintiff to

complete additional coursework in writing classes even though the courses were not

required for Plaintiff’s degree. The mandated classes were writing intensive and

Defendant assigned them to her due to her dyslexia and/or dysgraphia.

       24.    In or around August 1, 2019, Defendant also told Plaintiff that she could

not register for classes because she refused to comply with the spontaneous and

unfair terms and conditions required by Defendant Thomas University based on her

disability.

       25.    Plaintiff is a stellar student, with a 3.5 GPA, but Defendant Thomas

University has dismissed her from school and Defendant Honey Lake Mental Health

Clinic has dismissed her from her practicum without a documented investigation or

evaluation based on her disability.

       26.    Plaintiff is experiencing emotional distress and the loss of her financial

investment in her education as the direct result of Defendant’s discriminatory actions

and failure to provide accommodations for her disability.

       27.    Plaintiff has retained the undersigned to represent their interests in this

cause and is obligated to pay a fee for these services. Defendant should be made to

pay said fee under the statutes referenced above.


                                            7
            Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 8 of 12




                                  COUNT I
                         DISABILITY DISCRIMINATION
       28.     Paragraphs 1 through 27 above are re-alleged and incorporated herein.

       29.     This count sets forth a claim for discrimination on the basis of

Plaintiff’s actual or perceived mental or physical disability and/ or record of

impairment, brought under 42 U.S.C. §12101, et seq. and the Rehabilitation Act.

       30.     Plaintiff has been a victim of discrimination on the basis of actual or

perceived disability and/or record of impairment. During the course of Plaintiff’s

employment by Defendant, Plaintiff was treated differently than similarly situated

employees who are non-disabled, not perceived as disabled, or do not have a

comparable record of impairment to Plaintiff.

       31.      Defendant is liable for the differential treatment and its refusal to

accommodate Plaintiff, which adversely affected a term, condition, or privilege of

Plaintiff’s employment with Defendant as those terms are used in the applicable

statutes.

       32.     Defendant controlled the actions and inactions of the persons making

decisions affecting Plaintiff or it knew or should have known of these actions and

inactions and failed to take prompt and adequate remedial action or took no action

at all to prevent the abuses to Plaintiff.




                                             8
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 9 of 12




       33.    In essence, the actions of agents of Defendant, which were each

condoned and/or ratified by Defendant, were disability/perceived disability-based

and in violation of the laws set forth herein.

       34.    The discrimination complained of herein affected terms, conditions,

and privileges of Plaintiff's continued employment by Defendant. The events set

forth herein led, at least in part, to Plaintiff’s disability discrimination action.

       35.    Defendant’s acts and omissions constituted intentional discrimination

and unlawful employment practices based upon disability or perceived disability,

under the laws cited herein.

       36.    As a direct and proximate result of Defendant’s conduct described

above, Plaintiff has suffered emotional distress, mental pain and suffering, past and

future pecuniary losses, inconvenience, bodily injury, mental anguish, loss of

enjoyment of life and other non-pecuniary losses, along with lost back and front pay,

interest on pay, bonuses, and other benefits. These damages have occurred in the

past, are occurring at present, and likely will continue in to the future. Plaintiff is

entitled to equitable/injunctive relief and to punitive damages under this count.

                                       COUNT II
                                     RETALIATION

       37.    Paragraphs 1 through 27 above are re-alleged and incorporated.




                                            9
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 10 of 12




      38.    Defendant is an employer as that term is used under the applicable

statutes referenced above.

      39.    This count sets forth a claim for unlawful retaliation under 42 U.S.C

§12203 and the Rehabilitation Act.

      40.    Defendant retaliated against Plaintiff for opposing Defendant’s

unlawful acts or practices or because Plaintiff made a charge, testified, assisted, or

participated in any manner in an investigation, proceeding, or hearing under 42

U.S.C. §12101, et seq. and the Rehabilitation Act and adverse actions were then

taken against Plaintiff.

      41.    Alternatively, Defendant coerced, intimidated, threatened, or interfered

with Plaintiff’s rights under 42 U.S.C. §12101, et seq. and the Rehabilitation Act as

a result of Plaintiff exercising or enjoying Plaintiff’s rights granted under 42 U.S.C.

§12101, et seq or encouraging another to do so.

      42.    The foregoing unlawful actions by Defendant were purposeful.

      43.    Because of Plaintiff’s reporting Defendant’s unlawful behavior,

Plaintiff was the victim of retaliation, as relayed in part above.

      44.    Plaintiff became a member of a protected class after reporting

Defendant’s unlawful employment practices or association with another who

reported Defendant’s unlawful employment practices, and Plaintiff was a victim of

retaliation thereafter. There is a causal connection between the reporting of the
                                         10
         Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 11 of 12




unlawful employment practices and the adverse employment actions taken

thereafter.

      45.     As a direct and proximate result of the foregoing unlawful acts and

omissions, Plaintiff has suffered mental anguish, emotional distress, expense, loss

of benefits, embarrassment, humiliation, damage to reputation, illness, lost wages,

loss of capacity for the enjoyment of life, and other tangible and intangible damages.

These damages have occurred in the past, are occurring at present, and will likely

continue in to the future. Plaintiff is entitled to equitable/injunctive relief and to

punitive damages under this count.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against Defendant for the

following:

              (a)   that process issue and this Court take jurisdiction over this case;

              (b)   that this Court grant equitable relief against Defendant under the

                    applicable counts set forth above, mandating Defendant’s

                    obedience to the laws enumerated herein and providing other

                    equitable relief to Plaintiff;

              (c)   enter judgment against Defendant and for Plaintiff awarding all

                    legally-available general and compensatory damages and


                                           11
  Case 7:21-cv-00086-HL Document 1 Filed 07/13/21 Page 12 of 12




             economic loss to Plaintiff from Defendant for Defendant’s

             violations of law enumerated herein;

      (d)    enter judgment against Defendant and for Plaintiff permanently

             enjoining Defendant from future violations of law enumerated

             herein;

      (e)    enter judgment against Defendant and for Plaintiff awarding

             Plaintiff attorney's fees and costs;

      (f)    award Plaintiff interest where appropriate; and

      (g)    grant such other further relief as being just and proper under the

             circumstances.

                 DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury on all issues herein that are so triable.

Dated this 12th day of July, 2021.

                                          Respectfully submitted,

                                          /s/ Jim Garrity
                                          Jim Garrity [FBN 0539211]
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                                          ATTORNEYS FOR PLAINTIFF

                                     12
